USDC IN/ND case 3:10-cv-00118-JTM-CAN document 45 filed 06/25/10 page 1 of 3


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


BRAD A. MART,                                     §
                                                  §
        Plaintiff,                                §
                                                  §                  Civil Action No.
vs.                                               §              3:10-CV-118-JTM-CAN
                                                  §
BERKSHIRE HATHAWAY, INC.,                         §               (JURY DEMANDED)
FOREST RIVER, INC. and                            §
PETER J. LIEGL,                                   §
                                                  §
        Defendants.                               §




                   PLAINTIFF’S RULE 12(C) MOTION
      FOR JUDGMENT ON THE PLEADINGS ON THE COUNTERCLAIMS
      ASSERTED BY DEFENDANTS FOREST RIVER AND PETER J. LIEGL

        Pursuant to Fed. R. Civ. P. 12(c), plaintiff Brad Mart moves for judgment on the

pleadings on the counterclaims asserted by defendants Forest River, Inc. and Peter J. Liegl and

would show the court as follows:

        1.      The purchase price that Berkshire Hathaway, Inc. (“Berkshire”) paid for the

acquisition of Forest River, Inc. (“Forest River”) was reported to be approximately $800 Million

in the December 2005 edition of the RV Business Journal, a trade publication covering the

recreational vehicle industry. See Exhibit 1 to Plaintiff’s Answer to Counterclaim, Doc. 44-1.

        2.      In preparing plaintiff’s original complaint, counsel for plaintiff referred to the RV

Business Journal article for information concerning the Berkshire acquisition and used the

estimated purchase price provided in the article to prepare plaintiff’s complaint. See Plaintiff’s

Answer to Counterclaim, Doc. 44, at paras. 11, 12, 16 and 28.


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USDC IN/ND case 3:10-cv-00118-JTM-CAN document 45 filed 06/25/10 page 2 of 3


        3.     Because the estimated purchase price of $800 Million was reported publicly in

2005 through the RV Business Journal, that information cannot be considered confidential in

2010.

        4.     Assuming arguendo that plaintiff had a contractual or fiduciary obligation to

preserve company confidential information, and assuming arguendo that such obligation(s) were

still in effect at the time plaintiff filed his complaint, the estimated $800 Million purchase price

was not confidential due to the prior publication in RV Business Journal.

        5.     Because the estimated purchase price that Berkshire paid for Forest River was

reported in the media in 2005, there is no legal basis to support a cause of action that Mart

breached any agreement in 2010 for stating the same information in his complaint.

        6.     Because the estimated purchase price that Berkshire paid for Forest River was

reported in the media in 2005, there is no legal basis to support a cause of action that Mart

breached any fiduciary obligation in 2010 for stating the same information in his complaint.

        For these reasons, and for those asserted in the accompanying brief in support of this

motion, Mart hereby moves that the court enter judgment based on the pleadings and dismiss the

counterclaims in their entirety.




                                                 2
USDC IN/ND case 3:10-cv-00118-JTM-CAN document 45 filed 06/25/10 page 3 of 3


Dated: June 25, 2010                           Stephen A. Kennedy, pro hac vice
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                                               By:     /s/ Stephen A. Kennedy
                                                       Stephen A. Kennedy

                                               ATTORNEYS FOR PLAINTIFF BRAD A. MART




                                CERTIFICATE OF SERVICE

      I hereby certify that on June 25, 2010. I electronically filed the foregoing Plaintiff’s Rule
12(c) Motion For Judgment On The Pleadings On The Counterclaims Asserted By
Defendants Forest River And Peter J. Liegl with the Clerk of the Court using the court’s
CM/ECF system. All participants in the case are registered CM/ECF users and service will be
accomplished by the court’s CM/ECF system.


                                                    /s/ Stephen A. Kennedy
                                                Stephen A. Kennedy




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